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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

EUGENIO VARGAS,                              §
                                             §
     Plaintiff/Counterclaim Defendant,       §
                                             §
v.                                           §      Civil Action No. 4:22-cv-00430-O
                                             §
ASSOCIATION OF PROFESSIONAL                  §
FLIGHT ATTENDANTS, JULIE                     §
HEDRICK, AND ERIK HARRIS,                    §
                                             §
     Defendants/Counterclaim Plaintiff.      §

                            ORDER FOR ADMISSION PRO HAC VICE


               The court has considered the Application for Admission Pro Hac Vice of

               MARGOT A. NIKITAS             .


         It is ORDERED that:

         □     the application is granted. The Clerk of Court shall deposit the application fee to
               the account of the Non-Appropriated Fund of this Court. It is further ORDERED
               that, if the Applicant has not already done so, the Applicant must register as an
               ECF User within 14 days. See LR 5.1(f) and LCrR 49.2(g).

         □     the application is denied. The Clerk of Court shall return the admission fee to the
               Applicant.



 _______________________________                  _______________________________
 DATE                                             REED O’CONNOR
                                                  UNITED STATES DISTRICT JUDGE
